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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS


ILLINOIS REPUBLICAN PARTY, et al.,

                Plaintiffs,                      No. 1:20-cv-03489

                                                 Judge Sara L. Ellis
v.

J.B. PRITZKER, as Governor,                       Agreed Motion For Briefing
                                                   Schedule And Hearing On
                                                 Motion For Preliminary Relief
               Defendant.


     Pursuant to Fed. R. Civ. P. 65, Plaintiffs have moved for preliminary relief in the

form of a temporary restraining order and preliminary injunction to avoid imminent

and irreparable injury. Of most immediate concern, they seek resolution of their

request for preliminary relief in advance of a planned July 4th celebration by

Plaintiff Will County Republican Central Committee.

     Counsel for Plaintiffs have conferred with Counsel for Defendant Governor

Pritzker, and they have agreed on the following proposed briefing schedule:

        •   Plaintiffs’ Motion and Memorandum of Law, filed Monday, June 15.
        •   Defendant’s Response, due Wednesday, June 24.
        •   Plaintiffs’ Reply, due Thursday, June 25.

     The parties request that the Court schedule a telephonic or videoconference

hearing for the motion on Friday, June 26, or alternatively Monday, June 29.

     Wherefore, the parties ask the Court to grant this motion, entering the briefing

schedule on Plaintiffs’ motion for temporary restraining order and preliminary

injunction, and setting a hearing on that motion either by telephone or


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videoconference on Friday, June 26, Monday, June 29, or at a time convenient for

the Court in advance of a planned July 4th celebration by Plaintiff Will County

Republican Central Committee.


Dated: June 18, 2020



                                              Respectfully Submitted,

                                              Illinois Republican Party, et al.

                                              By:   /s/ Daniel R. Suhr


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Attorneys for Plaintiffs

                           CERTIFICATE OF SERVICE

Served electronically on counsel for the Governor via email. /s/ Daniel Suhr




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